             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      STATESVILLE DIVISION
               CIVIL CASE NO. 5:23-cv-00159-MR-DCK


ERIC RAMOND CHAMBERS,      )
                           )
              Plaintiff,   )
                           )
vs.                        )             ORDER
                           )
WARDEN OF ALEXANDER        )
CORRECTIONAL, et al.,      )
                           )
              Defendants.  )
__________________________ )

     THIS MATTER is before the Court on the Motion to Dismiss filed by

Defendants Jeremy Gilliland, Robert Kalinowski, Michael Moody, and Dwight

Morgan    [Doc.   52];   the    Magistrate     Judge’s    Memorandum            and

Recommendation regarding the disposition of that Motion [Doc. 62]; the

Plaintiff’s Objection to the Memorandum and Recommendation [Doc. 63];

and the Plaintiff’s “Notice” [Doc. 64], which the Court construes as a

Response to a previous Order [Doc. 56] directing the Plaintiff to show cause

why Defendant Rhonda McLain should not be dismissed from the action

pursuant to Rule 4(m) of the Federal Rules of Civil Procedure.

     On September 16, 2024, the above-referenced Defendants filed a

Motion to Dismiss the Plaintiff’s Complaint. [Doc. 52]. Pursuant to 28 U.S.C.



    Case 5:23-cv-00159-MR-DCK    Document 66     Filed 05/23/25   Page 1 of 4
§ 636(b) and the Standing Orders of Designation of this Court, the Honorable

David C. Keesler, United States Magistrate Judge, was designated to

consider this pending motion.

        On September 24, 2024, the Magistrate Judge entered an Order

directing the Plaintiff to show cause on or before October 11, 2024, why

Defendant Rhonda McLain should not be dismissed from this action due to

a lack of service. [Doc. 56]. The Plaintiff did not file a timely response to the

Magistrate Judge’s Show Cause Order.

        On March 28, 2025, the Magistrate Judge entered a Memorandum and

Recommendation in this case containing conclusions of law in support of a

recommendation that the Motion to Dismiss be denied, and that Defendant

McLain be dismissed from this action without prejudice pursuant to Rule 4(m)

of the Federal Rules of Civil Procedure. [Doc. 62]. The parties were advised

that any objections to the Magistrate Judge’s Memorandum and

Recommendation were to be filed in writing within fourteen (14) days of

service.     [Id.].   The Plaintiff filed Objections to the Memorandum and

Recommendation, as well as a “Notice” in which he contends that Defendant

McLain should not be dismissed from this action because the Plaintiff is

incarcerated and prison staff are allegedly interfering with his mail.1 [Docs.


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    The Objections and Notice are undated; they are post-marked April 22, 2025. The
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      Case 5:23-cv-00159-MR-DCK      Document 66    Filed 05/23/25   Page 2 of 4
63, 64]. The Defendants have not responded to the Plaintiff’s filings, and the

time to do so has expired.

      After careful review of the Magistrate Judge’s Memorandum and

Recommendation [Doc. 62] regarding the Defendants’ Motion to Dismiss, the

Court finds that the proposed conclusions of law are correct and are

consistent with current case law. Accordingly, the Plaintiff’s Objections are

overruled, and the Court accepts the Magistrate Judge’s recommendation

that the Motion to Dismiss be denied. As for the Plaintiff’s “Notice,” the

Plaintiff fails to offer a plausible explanation as to why he waited nearly seven

months to respond to the Magistrate Judge’s Show Cause Order.                     His

conclusory allegations that prison staff are tampering with his legal mail are

insufficient to justify extending the time for service on Defendant McLain any

longer.    Accordingly, the Court also accepts the Magistrate Judge’s

recommendation that Defendant McLain be dismissed from this action

without prejudice pursuant to Rule 4(m).

      IT IS, THEREFORE, ORDERED that the Plaintiff’s Objections [Doc.

63] are OVERRULED; the Magistrate Judge’s Memorandum and

Recommendation [Doc. 62] is ACCEPTED; the Defendants’ Motion to




Plaintiff contends that prison staff are “attempting to sabotage [his] claims by not
delivering mail on time.” [Doc. 64 at 1].
                                         3

    Case 5:23-cv-00159-MR-DCK       Document 66    Filed 05/23/25   Page 3 of 4
Dismiss [Doc. 52] is DENIED; and Defendant McLain is DISMISSED

WITHOUT PREJUDICE from this action pursuant to Rule 4(m) of the Federal

Rules of Civil Procedure.

     IT IS FURTHER ORDERED that Defendants Gilliland, Kalinowski,

Moody, and Morgan shall answer the Amended Complaint [Doc. 31] within

fourteen (14) days of this Order.

     IT IS SO ORDERED.
                Signed: May 23, 2025




                                           4

    Case 5:23-cv-00159-MR-DCK          Document 66   Filed 05/23/25   Page 4 of 4
